Case: 4:18-cv-01032-RLW Doc. #: 1-1 Filed: 06/25/18 Page: 1 of 14 PageID #: 4




                           EXHIBIT A
Case: 4:18-cv-01032-RLW Doc. #: 1-1 Filed: 06/25/18 Page: 2 of 14 PageID #: 5
Case: 4:18-cv-01032-RLW Doc. #: 1-1 Filed: 06/25/18 Page: 3 of 14 PageID #: 6
Case: 4:18-cv-01032-RLW Doc. #: 1-1 Filed: 06/25/18 Page: 4 of 14 PageID #: 7
Case: 4:18-cv-01032-RLW Doc. #: 1-1 Filed: 06/25/18 Page: 5 of 14 PageID #: 8
Case: 4:18-cv-01032-RLW Doc. #: 1-1 Filed: 06/25/18 Page: 6 of 14 PageID #: 9
Case: 4:18-cv-01032-RLW Doc. #: 1-1 Filed: 06/25/18 Page: 7 of 14 PageID #: 10
Case: 4:18-cv-01032-RLW Doc. #: 1-1 Filed: 06/25/18 Page: 8 of 14 PageID #: 11
Case: 4:18-cv-01032-RLW Doc. #: 1-1 Filed: 06/25/18 Page: 9 of 14 PageID #: 12
Case: 4:18-cv-01032-RLW Doc. #: 1-1 Filed: 06/25/18 Page: 10 of 14 PageID #: 13
Case: 4:18-cv-01032-RLW Doc. #: 1-1 Filed: 06/25/18 Page: 11 of 14 PageID #: 14
Case: 4:18-cv-01032-RLW Doc. #: 1-1 Filed: 06/25/18 Page: 12 of 14 PageID #: 15
Case: 4:18-cv-01032-RLW Doc. #: 1-1 Filed: 06/25/18 Page: 13 of 14 PageID #: 16
Case: 4:18-cv-01032-RLW Doc. #: 1-1 Filed: 06/25/18 Page: 14 of 14 PageID #: 17
